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14   Individual and Representative Plaintiffs

15   [Additional Counsel Listed on Signature Page]

16
                       IN THE UNITED STATES DISTRICT COURT
17                          FOR THE DISTRICT OF NEVADA

18
     Cung Le, Nathan Quarry, Jon Fitch, Brandon Vera,     No.: 2:15-cv-01045-RFB-BNW
19   Luis Javier Vazquez, and Kyle Kingsbury, on behalf
     of themselves and all others similarly situated,     PLAINTIFFS’ NOTICE OF:
20                                                        (1) EFFECTUATION OF CLASS
                           Plaintiffs,                    NOTICE PLAN, AND (2) NO
21                                                        EXCLUSIONS FROM BOUT CLASS
            v.
22
     Zuffa, LLC, d/b/a Ultimate Fighting Championship
23   and UFC,

24                         Defendant.

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                                                                        Case No.: 2:15-cv-01045-RFB-BNW
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 1          Plaintiﬀs submit this notice to conﬁrm: (1) the Court’s approved plan for distributing notice

 2   to members of the certiﬁed Bout Class (the “Notice Plan”) has been eﬀectuated as required by this

 3   Court’s November 17, 2023, Order Granting Plaintiﬀs’ Unopposed Motion to Approve Class

 4   Notice Plan, ECF No. 921 (“Class Notice Order” or “Order”); and (2) no members of the Bout

 5   Class have requested exclusion from the certiﬁed Bout Class. �e attached Declaration of

 6   Plaintiﬀs’ Notice Administrator, Steven Weisbrot, President and CEO of Angeion Group, LLC

 7   (“Angeion”), 1 and accompanying exhibits detail the implementation of the Notice Plan and the
 8   absence of valid exclusions or objections from Bout Class members.
 9          In the Class Notice Order, the Court approved Plaintiﬀs’ proposed Notice Plan, which

10   entailed: direct long-form notice by First-Class mail and short-form notice by email to all

11   reasonably identiﬁable Bout Class members of the nature of this action, including the claims and

12   defenses raised therein and Bout Class members’ legal rights and options; a comprehensive media

13   campaign, including targeted advertising on social media and paid search advertising on Google; a

14   posted-notice campaign in notable mixed martial arts (“MMA”) gyms; and a dedicated website and

15   toll-free telephone hotline where Bout Class members could learn more about the litigation and

16   their legal rights and options. See Class Notice Order at 2-3. �e Court concluded that Plaintiﬀs’

17   proposed forms and manner of notice to Bout Class members constituted “the best notice

18   practicable under the circumstances and satisﬁe[d] the requirements of due process and Rules

19   23(c)(2) and 23(e)(1) of the Federal Rules of Civil Procedure.” Id. at 2. �e Court appointed

20   Angeion to serve as Notice Administrator for the Bout Class in disseminating the Notice. Id.

21          Pursuant to the approved Notice Plan, members of the Bout Class could request exclusion

22   from the Bout Class no later than “66 days after the date of the Class Notice Order.” Id. at 4. �e

23   last day for members of the Bout Class to request exclusion was therefore January 22, 2024. See

24   Weisbrot Decl. ¶ 21. �e Class Notice Order further speciﬁed:

25
     1
26    Declaration of Steven Weisbrot of Angeion Group, LLC Re: Implementation of Notice Plan and
     Report on Exclusions and Objections Received, dated February 5, 2024 (“Weisbrot
27   Declaration”).
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 1          No later than eighty (80) days after the date of this Order, Plaintiﬀs shall ﬁle a declaration
            from Angeion conﬁrming that the Notice Plan has been eﬀectuated as required herein, and
 2          identifying those Bout Class members, if any, who have (a) requested to be excluded from
            the Bout Class, and (b) meet the requirements for a valid request for exclusion as set forth
 3          in the Notice.

 4   Class Notice Order at 4.

 5          As detailed in the Weisbrot Declaration and accompanying exhibits, each element of the

 6   Notice Plan has been eﬀectuated in full compliance with the Class Notice Order, as well as the

 7   requirements of due process and Rules 23(c)(2) and 23(e)(1) of the Federal Rules of Civil

 8   Procedure. In addition, no Bout Class members have requested exclusion from the Bout Class.

 9   First-Class Mail Notice

10          On November 18, 2023—the day after the Court issued the Class Notice Order—Class

11   Counsel provided Angeion ﬁles containing contact information for Bout Class members (the “Bout

12   Class List”), which included 1,286 unique names, of which 881 had mailing addresses and 933 had

13   email addresses. See Weisbrot Decl. ¶ 7. On December 8, 2023, Angeion mailed the Court-

14   approved long-form notice by First-Class mail to the 881 mailing addresses on the Bout Class List.

15   Id. ¶ 9, Ex. A. As of January 31, 2024, Angeion received 82 long-form notices returned as

16   undeliverable with no forwarding address. Angeion performed address veriﬁcation searches and is

17   in the process of remailing 59 long-form notices to identiﬁed updated addresses. Id. ¶ 10.

18   Email Notice

19          On December 8, 2023, Angeion emailed the Court-approved short-form notice to the 933

20   email addresses on the Bout Class List. Of these, 880 were delivered and 56 were identiﬁed as

21   undeliverable. Of the 56 Bout Class members whose emails were undeliverable, all but ﬁve were

22   successfully mailed long-form notice. Angeion is in the process of locating updated email

23   addresses for the remaining ﬁve class members. Id. ¶ 11, Ex. B.

24   Media Campaign

25          On December 8, 2023, Angeion commenced the Court-approved media campaign. Angeion

26   conducted a targeted social media campaign on Facebook, Instagram, and X (formerly Twitter),

27   using Bout Class List email addresses. Angeion also researched and identiﬁed veriﬁed social media

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 1   accounts for 308 of the 353 Bout Class members who did not have email addresses on the Bout

 2   Class List and included these accounts in the targeted social media campaign. In addition, Angeion

 3   conducted a paid search campaign on Google, which was designed to help drive Bout Class

 4   Members who were actively seeking information about this litigation to the dedicated website. Id.

 5   ¶¶ 14-15. In total, the social media and paid search campaigns generated 1,755,647 impressions.

 6   Id. ¶ 16, Ex. D.

 7           On December 8, 2023, Angeion distributed a press release regarding this litigation over PR

 8   Newswire. Id. ¶ 17, Ex. E.

 9   Posted Notice

10           On December 8, 2023, Angeion commenced the Court-approved posted notice campaign.

11   Angeion mailed poster-sized notices to 48 professional MMA gyms with a request to post the

12   notice in a visible area for Bout Class members to view. Id. ¶ 12, Ex. C.

13   Dedicated Website and Toll-Free Hotline

14           On December 8, 2023, Angeion established a website dedicated to this litigation:

15   www.UFCFighterClassAction.com. �e website contains general information about the litigation

16   and signiﬁcant deadlines, downloadable copies of important documents, a list of Frequently Asked

17   Questions, and a Contact Us link through which Bout Class members can email a dedicated email

18   address established for the litigation. Id. ¶ 18. Between December 8, 2023, and January 31, 2024,

19   the dedicated website registered 11,658 page views from 10,165 unique visitors, with 4,929

20   visitors registering for future updates. Id. ¶ 19.

21           On or before December 8, 2023, Angeion established a toll-free hotline dedicated to this

22   litigation. �e free hotline is accessible 24 hours a day, 7 days a week, and utilizes an interactive

23   voice response (“IVR”) system to provide callers with responses to frequently asked questions

24   and inform Bout Class members of important litigation dates and deadlines. Id. ¶ 20.

25   Report on Requests for Exclusion from Bout Class

26           �e Class Notice Order further requires that Plaintiﬀs and Angeion identify the “Bout Class

27   members, if any, who have (a) requested to be excluded from the Bout Class, and (b) meet the

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 1   requirements for a valid request for exclusion as set forth in the Notice.” Class Notice Order at 4.

 2          As set forth in the Weisbrot Declaration, Angeion has not received any requests for

 3   exclusion from the Bout Class. Weisbrot Decl. ¶ 21. On January 16, 2024, Class Counsel received

 4   an email from a former professional MMA ﬁghter named Rory Markham, in which Markham

 5   indicated his “mandate to be taken oﬀ/opting out of the Le vs. Zuﬀa class action lawsuit.”

 6   Plaintiﬀs’ data indicates that Markham is not a member of the Bout Class because he did not ﬁght

 7   for the UFC during the Class Period.

 8   DATED: February 5, 2024                          Respectfully Submitted,
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11                                     and Representative Plaintiffs.
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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that the foregoing Plaintiffs’ Notice of (1) Effectuation of Class Notice

 3   Plan, and (2) No Exclusions from Bout Class was served on February 5, 2024, via the District

 4   Court of Nevada’s ECF system to all counsel of record who have enrolled in this ECF system.

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 7                                                      /s/ Eric L. Cramer
                                                        Eric L. Cramer
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